                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       Civil Action No. 1:19-cv-00983-LCB-JLW

                                                 )
DOMINIQUE MORRISON, SARA                         )
HAWES, CASSANDRA                                 )
CHIARALUCE, and JONATHAN                         )
FONTAINE individually, and on behalf             )
of all others similarly situated,                )
                                                 )
                Plaintiffs,                      )            Case No.: 1:19-cv-983
                                                 )
v.                                               )
                                                 )
AQ TEXTILES LLC and CREATIVE                     )
TEXTILE MILLS PVT. LTD.,                         )
                                                 )
                Defendants.                      )
                                                 )

                          THIRD CLASS ACTION COMPLAINT

         Plaintiffs Dominique Morrison, Sara Hawes, Cassandra Chiaraluce, and Jonathan

Fontaine (“Plaintiffs”) bring this action on their own behalf and on behalf of putative

classes (the “Classes”) consisting of Plaintiffs and all others similarly situated, against

AQ Textiles LLC (“AQ Textiles” or “AQ”), and Creative Textile Mills Pvt. Ltd.

(“Creative Textiles”) (together “Defendants”).1 All allegations herein are based on



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     In its January 27, 2022 Memorandum and Opinion, this Court concluded “that Plaintiffs’

      proposed Second Amended Complaint does allege an injury in fact and cures the defect that

      led the Court to dismiss the First Amended Complaint. Plaintiffs’ motion to amend their

      complaint would survive a motion to dismiss.” Dkt. No. 42, p. 34. The Court dismissed

      Plaintiffs MMWA, Negligent Misrepresentation, and Massachusetts 93A claims.




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information and belief, except for those paragraphs pertaining to Plaintiffs’ own actions,

which are alleged based on personal knowledge.

                                      INTRODUCTION

       1.     Plaintiffs bring this action on their own behalf and on behalf of Classes

consisting of Plaintiff and all others similarly situated to redress Defendants’ deceptive

acts and unconscionable business practices designed to deceive and mislead consumers

into believing that Defendants’ bedding sheets had higher thread counts than they truly

possess and as such were of better quality, softer and more comfortable for sleeping than

products with lesser thread counts.

       2.     In purchasing bedding sheets, Plaintiffs and the Classes received less than

what was promised by Defendants due to the improperly inflated thread counts

represented on bedding sheet labels sold and marketed by Defendants throughout the

United States and the State of North Carolina.

       3.     Members of the bedding sheet products industry including the Defendants

and retailers consistently communicate to consumers that higher thread count sheets are

of better quality, softer, and more comfortable for sleeping.

       4.     As a result, consumers purchasing bedding sheets use thread count as a

primary indicator of the quality of the sheets offered for sale and pay higher prices for

higher thread count bedsheets. See https://www.mattressadvisor.com/thread-count-really-

matter-sheets/ (last visited March 24, 2021) (“Since the mid-1990s, bed linens

manufacturers have marketed high-thread count sheets as the top of the line in bedding.




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Higher thread counts mean higher prices, which consumers happily pay believing they

are buying top quality sheets with thread counts of 750, 800, 1000, or even higher.”).

       5.     As part of a scheme to make their bedding sheets more attractive, boost

sales, and increase profits, Defendants departed from well-established and long-standing

industry standards governing the calculation and advertisement of thread counts and

inflated the thread counts on the labels of the products it marketed, distributed and/or sold

through their agents and North Carolina retail partners.

       6.     The American Society for Testing and Materials’ (“ASTM”) Standard Test

Method for Warp (End) Count and Filling (Pick) Count of Woven Fabric, Designation:

D3775-12 is the standard used to determine thread counts.

       7.     On January 25, 2018 and February 16, 2018, the Texas Department of

Agriculture (“TDA”) sent letters to AQ Textiles explaining that it, based on thread count

complaints it received concerning sheets distributed by AQ, had three sheet sets tested by

Vartest (New York, NY quality assurance and compliance textile testing lab) in

November and December of 2017.          Using industry standard ASTM D3775, Vartest

determined, for the TDA, that AQ Textile’s (1) Fairfield Square Essex Stay Fit 1200

thread count sheets had an actual thread count of 363; (2) Fairfield Square Luxury Sateen

Essex Stay Fit 1200 thread count sheets had an actual thread count of 441; and (3) Ultra

Lux Wrinkle Resistant Luxury Weave 800 thread count sheets had an actual thread count

of 293. Exhibit A (letters from Texas Department of Agriculture to AQ Textiles dated

January 25 and February 16, 2018 (“TDA Letters”).

       8.     Based on the Vartest lab test results showing massive inconsistency




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between the represented and actual thread counts, the TDA requested that the Office of

the Attorney General, State of Texas, Consumer Protection Division, and the United

States Federal Trade Commission “investigate the matters” as AQ (along with the retailer

and manufacture) “may have engaged in deceptive acts and practices within the State of

Texas which are prohibited under Section 17-46 of the Texas Business and Commerce

Code.” TDA Letter, Jan. 25, 2018 at page 1.

       9.       The TDA also urged AQ Textiles (along with the retailer and manufacture)

to “stop sales of the said Goods, or to correctly repackage said Goods to reflect the proper

characteristics of said Goods.” TDA Letter, Jan. 25. 2018 at p. 2.

       10.      Independent test results of the Named Plaintiffs here, included below,

similarly show that the thread count for their sheets, like the sheets tested for the TDA,

are much lower than reflected on their labels.

       11.      Named Plaintiff Fontaine purchased the same sheets (1200 thread count

Fairfield Square Essex Stay Fit) determined by the TDA via Vartest to have an incorrect

thread count.

       12.      Plaintiff Hawes’ Somerset Collection brand sheet set, which was

represented to have a 900 thread count on the label, had a true thread count, when tested

according to ASTM D3775, of approximately 227.

       13.      Plaintiff Morrison’s Grande Estate 800TC Luxurious Sateen Weave sheets,

which were represented to have an 800 thread count, had a true thread count, when tested

according to ASTM D3775, of approximately 224.




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         14.   Defendants misrepresented, and continue to misrepresent, the thread count

and the corresponding actual quality, durability, longevity, fitness, softness, comfort and

other characteristics associated with bedding sheets they advertise and sell.

         15.   The representation of the false and misleading thread count also deceives

and misleads consumers into believing that they are purchasing a product which is of

higher quality, softness and is better for sleeping than products with a lower thread count.

         16.   Defendants knowingly departed from following well accepted and known

industry standards for calculating thread counts, and thereby inflated thread counts to

market, advertise, package, and sell their bedding sheets through their agents and retail

partners throughout the United States and North Carolina. For instance, Macy’s website

prominently features AQ Textiles’ products, listing AQ Textiles first in the bed sheets by

brand          category.          See            https://www.macys.com/shop/bed-bath/bed-

sheets/Brand/AQ%20Textiles?id=9915 (last visited March 23, 2021) (showing line of

Macy’s sheets “from AQ Textiles”).

         17.   Inaccurate thread counts create reasonable but mistaken beliefs by

consumers about the quality of bedding sheets.

         18.   For example, reasonable consumers believe that a bedding sheet package

label stating that it contains 800 thread-count bedding actually contains bedding with a

thread count calculated at 800 according to an honest and consistent industry standard.




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          19.   Likewise, consumers believe that a 800 thread-count bedding is going to be

of higher quality, softer and better for sleep and more comfortable than a lower thread-

count bedding.2

          20.   Consumers rely on Defendants’ representations and advertising as they

compare and assess products and make purchase decisions.

          21.   As a direct result of Defendants’ improper, deceptive, and unconscionable

scheme to misrepresent bedding and line thread counts, Plaintiffs and other Class

members suffered damages because the inflated thread counts induced Plaintiffs and

other members of the Class to purchase Defendants’ products when Plaintiffs and other

members of the Class would not have purchased them, or would have paid a lower price

for the products if they had known the actual thread counts at the time of purchase.

                              JURISDICTION AND VENUE

          22.   The foregoing allegations are incorporated by reference and realleged

herein.

          23.   This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1332 of the Class Action Fairness Act of 2005 because (i) there are 100 or

more class members, (ii) there is an aggregate amount in controversy exceeding

$5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity because at

least one plaintiff and defendant are citizens of different states.          This Court has

supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.




2
    See https://www.macys.com/ce/splash/how-to-choose-bed-sheets/index (last accessed March
     24, 2021) (“the higher the thread count, the denser & smoother the sheet will feel.”)


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       24.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claims occurred in this

District.

       25.    Defendant AQ Textiles is a North Carolina LLC with it principal place of

business and registered offices located in Greensboro, North Carolina 27410.

       26.    Defendants’ improper conduct set forth herein occurred in this District or

was conceived of and executed from this District in whole or in part.

       27.    Defendants’ decisions to engage in the improper conduct set forth herein

were made in this District.

       28.    Further, Defendants’ bedding sheets at issue were advertised, marketed,

sold and/or distributed in this District.

       29.    Creative Textiles has admitted that it and AQ Textiles share “a contractual

relationship.”3

       30.    According to Creative’s Supply Chain Summary from November 9, 2017 to

November 9, 2018, Creative’s “Top Importer” was AQ.4

       31.    According to AQ’s Supply Chain Summary from November 9, 2017 to

November 9, 2018, AQ’s “Top Supplier” was Creative.5




3
  Adam v. TJX, 17-cv-11260 (D. Mass.) ECF No. 82 at ¶ 9 (Declaration of Agarwal (“Agarwal
    Decl.”).
4
   Descartes Datamyne Trade Report, http://www.datamyne.com/supplier/6192388/creative-
    textile-mills-pvt-ltd (last visited March 23, 2021).
5
  Descartes Datamyne Trade Report, http://www.datamyne.com/importer/6774638/aq-textiles-llc
    (last visited March 23, 2021).


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          32.      An AQ bill of lading report dated December 6, 2018, as recorded by U.S.

Customs, shows that AQ imported from Creative 2893 cartons of cotton woven bed

sheets.6        The listed “Consignee” for the shipment is “Aq Textiles Llc.”7

          33.      The harm alleged herein occurred in this District or emanated from

Defendants’ improper conduct that occurred in this District, in whole or in part.

                                             PARTIES

          34.      The foregoing allegations are incorporated by reference and realleged

herein.

          35.      Plaintiff Dominique Morrison is an adult citizen of St. Louis County,

Missouri.

          36.      Plaintiff Morrison purchased dark gray Grande Estate 800TC Luxurious

Sateen Weave sheets during the Class Period from the Ross store located at 3614 S.

Lindbergh Blvd. in St. Louis, Missouri. Although she does not recall the specific date of

purchase, she believes that she purchased them sometime in the fall of 2016/ early winter

of 2017, prior to February 2017.

          37.      Although she does not recall the exact price she paid for the sheets, she

believes that she paid around $40.00 but that the price tag also referenced a higher

amount that Defendant represented that the sheets were worth given their represented

quality.




6
   Panjiva Shipping Information, https://panjiva.com/Aq-Textiles-LLC/32406626 (last visited
    March 23, 2021).
7
  Id.


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       38.    The Grande Estate 800TC Luxurious Sateen Weave sheets were imported

and labeled by AQ Textiles and manufactured and packaged by Creative Textiles, which

were then marketed and sold to Plaintiff and other consumers.

       39.    Plaintiff Morrison reasonably believed and relied on the representations on

the label and price tag of Defendant’s sheets that the sheets she purchased were in fact of

800 thread count.

       40.    Plaintiff Morrison relied on the representations regarding the higher-value

high thread count on the packaging when purchasing these sheets and believed that she

was purchasing sheets with an 800 thread count and that the sheets were of higher

quality, more durable, last longer, softer and better for sleep than sheets with lower thread

counts.

       41.    Plaintiff was deceived by the label and price tag, however, because the

Grande Estate 800 TC sheets thread counts are far less than the represented 800.

       42.    Had Plaintiff Morrison known that the sheets were not in fact 800 thread

count sheets, she would not have purchased them or would only have paid a lower price

for the products if they had known the actual thread counts at the time of purchase.

       43.    The price tag on the Grande Estate sheet sets further represents that,

although the consumer will only have to pay $39.99 for the sheet sets, the “comparable

value” of the sheets was $100.00. This representation regarding the “comparable value”

misleads consumers into believing that they are purchasing the higher quality and higher

priced high thread count sheets which have a value of $100.00 but were supposedly

discounted for the consumer’s benefit.




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       44.    Defendant knew or should have known that the advertised thread counts on

the labels of the sheets manufactured and imported by Creative Textiles and AQ Textiles

were inaccurate and over inflated. Nonetheless, AQ Textiles represented and sold them

to consumers as if they were of the higher quality represented on the labels.

       45.    Defendant’s representations regarding the higher quality and thread counts

of these bedding and linen products were deceptive and misleading according to both the

industry standard and the FTC’s guidelines for accurately describing thread counts.

       46.    Defendant further knew or should have known that the advertised

“comparable value” on the price tags of the sheets manufactured and imported by

Creative Textiles and AQ Textiles were inaccurate since they were not actually high-

priced, high quality, high thread count sheets. Nonetheless, they were sold to consumers

as if they were of the high quality represented on the labels.

       47.    The representations regarding the thread count and comparable value of

these bedding and linen products were deceptive and misleading because the bedding and

linen were not actually high-priced, high quality, high thread count sheets satisfying the

industry standard and the FTC’s guidelines for accurately describing thread counts.

       48.    Plaintiff Sara Hawes is an adult citizen of California.

       49.    In or around May 2017, Ms. Hawes purchased a Somerset Collection brand

queen-size sheet set, manufactured by Defendant Creative Textiles for and labeled and

distributed by Defendant AQ Textiles and represented to be “900 Thread Count,” from a

Macy’s retail store located at 8500 Beverly Blvd. in Los Angeles, California.




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      50.    Ms. Hawes relied on the thread count representations on the packaging

when purchasing these sheets and believed that she was purchasing sheets with a 900

thread count and that the sheets were of higher quality, softer, better for sleep, and more

comfortable than sheets with lower thread counts.

      51.    A photo of Ms. Hawes’ sheet label (and insert card) is attached hereto as

Exhibit E.

      52.    Ms. Hawes paid $76.11 ($69.99 plus tax) for this sheet set.

      53.    Plaintiff Cassandra Chiaraluce is an adult citizen of Massachusetts.

      54.    In or around October 2017, Ms. Chiaraluce purchased a Bradford Stay Fit

brand queen-size sheet set, manufactured by Defendant Creative Textiles, for and labeled

and distributed by Defendant AQ Textiles and represented to be “800 Thread Count”

from a Macy’s retail store located at 85 Rockingham Park Blvd. in Salem, New

Hampshire.

      55.    Ms. Chiaraluce relied on the thread count representations on the packaging

when purchasing these sheets and believed that she was purchasing sheets with an 800

thread count and that the sheets were of higher quality, softer, better for sleep, and more

comfortable than sheets with lower thread counts.

      56.    Ms. Chiaraluce paid $69.99 for the sheet set.

      57.    Plaintiff Jonathan Fontaine is an adult citizen of Massachusetts.

      58.    In or around October 2017, Mr. Fontaine purchased a Fairfield Square

Essex Stay Fit brand queen-size sheet set, manufactured by Defendant Creative Textiles

for and labeled and distributed by Defendant AQ Textiles and represented to be “1200




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Thread Count,” from a Macy’s retail store located at 75 Middlesex Turnpike in

Burlington, MA. This is the same style of sheets tested by Vartest for the TDA in 2017

and found to contain less thread counts than stated.

       59.     Mr. Fontaine relied on the thread count representations on the packaging

when purchasing these sheets and believed that he was purchasing sheets with a 1200

thread count and that the sheets were of higher quality, softer, better for sleep, and more

comfortable than sheets with lower thread counts.

       60.     Mr. Fontaine paid $84.99 ($79.99 plus tax) for this sheet set.

       61.     Defendant AQ Textiles is a North Carolina LLC with it principal place of

business and registered offices located at 214 Staunton Drive, Greensboro, North

Carolina 27410.

       62.     Defendant AQ Textiles, on behalf of Creative Textiles, imports and

distributes the relevant sheet and bedding products.

       63.     Defendant Creative Textiles is a private limited company organized under

the laws of the Republic of India, with its primary place of business at 212, Cama

Industrial Estate, Sun Mill Compound Mumbai, Maharashtra 400013 India.

       64.     Defendant Creative Textiles manufactures and sells textiles, including the

relevant sheets and bedding products, throughout the United States through its contractual

partner, AQ.

       65.     According to Creative’s Supply Chain Summary from November 9, 2017 to

November 9, 2018, Creative’s “Top Importer” was AQ. According to AQ’s Supply

Chain Summary from November 9, 2017 to November 9, 2018, AQ’s “Top Supplier”




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was Creative. An AQ bill of lading report dated December 6, 2018, as recorded by U.S.

Customs, shows that AQ imported from Creative 2893 cartons of cotton woven bed

sheets.

          66.   The listed “Consignee” for the shipment is “Aq Textiles Llc.” See

Descartes Datamyne Trade Report,

http://www.datamyne.com/supplier/6192388/creative-textile-mills-pvt-ltd (last visited

March 23, 2021); see also Descartes Datamyne Trade Report,

http://www.datamyne.com/importer/6774638/aq-textiles-llc (last visited March 23,

2021); Panjiva Shipping Information, https://panjiva.com/Aq-Textiles-LLC/32406626

(last visited March 23, 2021).


                               FACTUAL ALLEGATIONS

          67.   The foregoing allegations are incorporated by reference and realleged

herein.

          68.   For consumers purchasing bedding sheets, thread count is used as an

indicator of fabric quality and a basis on which they make purchasing decisions.

          69.   As the thread count increases, so does the price that consumers are willing

to pay for bedding sheets.

          70.   The sheets and bed sheets at issue were manufactured by Creative Textiles

and imported, labeled, and sold by AQ Textiles to retail partners such as Macys, Ross,

Walmart, Kmart, Bed Bath & Beyond, Target, TJ Maxx, and other retailers and

merchants under multiple brand names.




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       71.     Other affected bedding sheets sold at retailers across the United States,

include among others, the following products:

       • Bradford Stay Fit Queen 800 Thread Count - Macy’s;

       • Fairfield Square Essex Stay Fit Queen 1200 Thread Count - Macy’s;

       • Fairfield Square BainBridge Collection Queen 1400 Thread Count - Macy’s;

       • Sterling Manor Luxury Sateen Weave 700 Thread Count - TJ Maxx;

       • Ultra Lux Luxury Sateen Weave 800 Thread Count - TJ Maxx;

       • Designer Workshop 600 Thread Count - Kmart;

       • Luxury Sateen 1000 Thread Count - Kmart;

       • Dayton Collection Sateen Queen 400 Thread Count - TJ Maxx;

       • Luxury Sateen 530 Thread Count, Ashford Collection - Macys;

       • Hotel Collection 800 Thread Count - Macy’s;

       • Charter Club Allure 2 Pillowcase 600 Thread Count - Macy’s;

       • Fieldcrest 700 Thread Count Supima Classic Hemstitich Queen - Target;

       • UltraLux Wrinkle Resistant Luxury Sateen Weave Queen 1200 Thread Count -

             TJ Maxx;

       • SOHOME Studio Queen 400 Thread Count - TJ Maxx; and

       • Park Avenue Queen 350 Thread Count - TJ Maxx.

       72.     The affected sheets, including the products purchased by Plaintiffs, are also

offered regularly for sale and are sold via the internet through retailers’ websites such as

Better Home and Gardens, Ebay, ShopSyle, and PeopleShop.




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         73.   Macy’s website prominently features AQ Textiles’ products, listing AQ

Textiles first in the bed sheets by brand category. See https://www.macys.com/shop/bed-

bath/bed-sheets/Brand/AQ%20Textiles?id=9915 (last visited March 23, 2021) (showing

line of Macy’s sheets “from AQ Textiles”).

         74.   There are dozens of AQ Textiles sheet sets listed for sale on Amazon.8

         75.    For consumers purchasing bedding sheets, thread count is used as an

indicator of fabric quality and a basis on which they make purchasing decisions.

         76.   As the thread count increases, so does the price that consumers are willing

to pay for bedding sheets given the connection between higher thread count and higher

quality for consumers.

         77.   Industry participants at each level of the supply chain, including

Defendants, know that consumers will pay higher prices for sheets and bedding products

with a higher thread count and as such increase the price as the thread counts on the

products increase.

         78.   This includes manufacturers such as Defendant Creative Textiles, and

distributors/importers such as Defendant AQ Textiles.

         79.   Consumers rely on represented thread count as the gauge for the quality of

their bedding sheet.       See https://abcnews.go.com/GMA/story?id=125380&page=1,

available at http://abcnews.go.com/GMA/ story?id=125380&page=1 (last visited March




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    See https://www.amazon.com/Bedding-Bath-AQ-Textiles-Home-

     Kitchen/s?rh=n%3A1057792%2Cp_4%3AAQ+Textiles (last accessed March 24, 2021).



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23, 2021) (“Consumers who enjoy slipping under top-quality bed sheets rely on thread

count as a gauge while shopping….”).

       80.    Consumers pay more for higher thread count sheets. Id. (“A single-ply

300-count can run about $55 a set, while the 600 thread-count sheets that [tested as] only

a 300-count is $180 a set.”).

       81.    An informal survey of the prices of cotton king-size bedding sets at online

retailers in December 2016 showed that as thread count increased, so did the price for the

bedding.




       82.    Consumers are misled to believe that the higher the thread count the higher

quality of the sheet and consumers are willing to pay more for sheets with higher thread

counts.            See          https://www.mattressadvisor.com/thread-count-really-matter-



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sheets/#:~:text=Higher%20thread%20counts%20mean%20higher,%2C%201000%2C%2

0or%20even%20 (“Since the mid-1990s, bed linens manufacturers have marketed high-

thread count sheets as the top of the line in bedding. Higher thread counts mean higher

prices, which consumers happily pay believing they are buying top quality sheets with

thread          counts   of   750,     800,      1000,    or      even     higher.”).      See    also

https://www.styleathome.com/interiors/bedroom/article/buying-guide-the-truth-about-

thread-count (“There's no doubt that most consumers believe the higher the thread count,

the better the quality, but this isn't entirely true”); www.thesleepjudge.com/best-sheet-

thread-count/ (“Ranging from colors, designs, sizes, and thread counts, one could ... If

you're someone who likes really soft sheets, a thread count ranging from ... keep you

either really cool or really warm – depending on the weather. ... This being said, the

higher      the      thread   means        the   higher   the     price    tag     would     be….”.);

https://bambi.com.au/understanding-thread-counts/ (“It’s is all about inflating the thread

count to inflate the price tag,” according to ... But what does this really mean and

how does it impact the way we sleep? Well ….”).9

          83.      As    explained    in    a    Brookliving     article   dated    October      2018,

https://www.brooklinen.com/blogs/brookliving/best-thread-count-for-sheets                         (last

accessed March 23, 2021): “Thread count is to sheets what carats are to diamonds—a key

but not the only factor when it comes to determining a perfect product. For bed linens, the

four major aspects to consider, in order of priority, are cotton, ply, thread count, and




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    All of these websites were last visited on March 24, 2021.



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weave, but that message gets lost in all of the fancy packaging touting thread count as the

be all and end all. Here’s the low-down behind one of the industry’s most misleading

concepts….. according to exposés from New York Magazine and Consumer Reports,

many manufacturers use “creative math” to inflate their numbers, advertising thread

counts of 800, 1000, and 1200—and leading consumers to believe they are getting a

luxury product when they aren’t. This allows manufacturers to sell degraded sheets

disguised as quality ones, keeping their production costs down while up charging for

something no knowledgeable consumer would want and maximizing profits on the cheap.

But here’s where that math falters…”

       84.    The common or standard practice in the U.S. bedding and linen industry

has been to count the number of threads in both the warp (vertical direction) and filling

(horizontal direction). Common or standard practice counts each yarn as one thread,

regardless of whether the yarn was a single-ply or multi-ply yarn.

       85.    The American Society for Testing and Materials’ (“ASTM”) Standard Test

Method for Warp (End) Count and Filling (Pick) Count of Woven Fabric, Designation:

D3775-12, covers the standard test method for measuring warp end count and filling pick

count and is applicable to all types of woven fabric.

       86.    Section 9.1.1 of D3775-12 instructs on the appropriate method for

determining thread count: “Count individual warp ends and filling picks as single units

regardless of whether they are comprised of single or plied components.”




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      87.       The terms relevant to ASTM D3775-12, and related to textiles, are defined

by ASTM Designation: D123-03. See Section 3, Terminology of ASTM D3775-123.

These terms, among others, include:

      a.        count, n ̶ in woven textiles, the number of warp yarns (ends) and filling
                yarns (picks) per unit distance as counted while the fabric is held under zero
                tension, and is free of folds and wrinkles.
      b.        end, n ̶ in fabric, an individual warp yarn (single or ply) or cord.
      c.        filling, n ̶ yarn running from selvage to selvage at right angles to the warp
                in a woven fabric.
      d.        pick, n ̶ an individual filling yarn.
      e.        pick count, n ̶ in woven fabrics, the number of filling yarns per unit fabric
                length.

See ASTM D 123-03, Standard Terminology Relating to Textiles.

      88.       The prior versions of ASTM D3775, going back at least to 2003, included

the same instructions for proper counting under the standard.

      89.       ASTM, Standard Test Method for Warp End Count and Filling Pick Count

of Woven Fabric, Designation: D3775-03a, Section 9.1.4 instructs, “Count individual

warp yarns (ends) and filling yarns (picks) as single units regardless of whether they are

comprised of single or plied components.”

      90.       Per ASTM D3775-12 § 9.1.4, the standard deviation of the samples tested,

should be 5% or less.

      91.       In other words, the stated thread count should be within 5% of the actual

thread count.

      92.       However, some bedding sheet manufacturers and distributors, such as

Defendants, are not adhering to the standard-based, traditional, and common industry




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practice. These manufacturers and retailers double or triple the true thread count by

counting plied yarns individually.

       93.    According to the National Textiles Association (“NTA”) and the Federal

Trade Commission (“FTC”), this practice of determining thread count by counting plied

yarns individually “inflates the thread count numbers to levels which double or triple (or

more) the thread count as determined by the long standing, traditional way.”

       94.    This practice has also created confusion in the marketplace and has caused

consumers to compare thread counts that may have been calculated in two dramatically

different ways.” See FTC Letter to National Textile Association, August 2, 2005, Exhibit

B.

       95.    In its Letter to the National Textile Association, the FTC stated that:

              [C]onsumers could be deceived or misled by the practice of stating
              an inflated thread count, achieved by multiplying the actual count by
              the number of plies within the yarn. A possible non-deceptive way
              to disclose both the thread count and the yarn ply would be to state,
              for example: ‘300 thread count, 2 ply yarn.’ A representation of
              ‘600 thread count’ for this same product would likely mislead
              consumers about the quality of the product being purchased.”

       96.    The practice of counting the plies that make up each thread was also

condemned by the American Textile Manufacturer’s Institute (“ATMI”).

       97.    In a letter sent to the FTC on January 31, 2002, Exhibit C, ATMI addressed

marketing of bed sheets and pillowcases to consumers with claims of extremely high yarn

or thread count claims, stating that:


              Labeling these products based on a count that includes each ply in
              plied yarns deceives the customer into believing that bedding




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             products with higher counts are better, when, in fact, they might be
             inferior because of the method used to determine the count.

                                           …

             In many cases, these extremely high counts are achieved by counting
             yarns within a ply as individual yarns, thus dramatically increasing
             the number of yarns in a square inch of fabric. A plied yarn is one in
             which two or more yarns are twisted together to form a single strand.

             ATMI believes this method of labeling products based on counting
             each individual yarn in plies to be a deceptive practice, which
             misleads the American public into making purchasing decisions to
             purchase items, based on false and misleading information.

             ASTM method D 3775-96 (Standard Test Method for Fabric Count
             of Woven Fabric) [a prior version of D3775-12] the long-accepted
             industry standard for determining count. This method has been in
             use in this country for many years and serves as the industry’s
             standard way to report the count of many woven textile fabrics,
             including sheeting. It is based on the number of yarns in the warp
             direction and filling direction, regardless of ply, and has become an
             important parameter used by consumers to judge the quality of
             sheeting products, since the higher the count, the more luxurious the
             product.

             ATMI believes that any information provided to the consumer
             should be true and correct so as not to be deceptive or misleading.
             We believe that plied yarns are properly counted as only one yarn.
             For example, a fabric containing 250 individual four ply yarns in a
             square inch would be described as a “250 thread count fabric, even
             though each thread or yarn contained four plies twisted together.” It
             would be false and misleading to describe this as a 1000 thread
             count product.


      98.    The FTC’s reply letter to ATMI, dated March 18, 2002, advised how the

Commission’s staff would analyze claims that counting yarns within a ply as individual

yarns to determine thread count was a deceptive practice. See Exhibit D.




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      99.    The FTC advised that where ASTM standards existed, the Commission

would give great weight to the applicable standards to determine if product claims were

reasonable or deceptive:

             A thread count claim, like other objective, material claims about a
             product, must be supported by a “reasonable basis.” In determining
             what constitutes a reasonable basis for claims, we would consider
             what experts in the field believe is appropriate, including whether
             there are relevant consensus based test procedures, such as an ASTM
             test procedure, or other widely accepted industry practices that apply
             to the matter. If so, we would give such procedure or practices great
             weight in determining whether the advertiser has met its
             substantiation burden. In other related context, the Commission has
             encouraged the use of ASTM tests. See Press Release, FTC
             Announces Actions on Wool Labeling Rules, dated March 8, 1994
             (copy attached) (“In its clarification of the procedure used for testing
             the fiber content of wool products, the FTC said the industry
             members should, where possible, use procedures established by the
             American Society for Testing and Materials (ASTM).”).

      100.   Despite these long-standing industry standards for calculating thread

counts, and the likelihood that deviating from the standards would mislead and deceive

consumers, Defendants manufactured, marketed, advertised, sold and/or distributed

bedding sheet products with inflated thread counts.

      101.   On January 25, 2018 and February 16, 2018, the Texas Department of

Agriculture (“TDA”) sent letters to AQ Textiles explaining that it, based on thread count

complaints it received concerning sheets distributed by AQ, had three sheet sets tested by

Vartest (New York, NY quality assurance and compliance textile testing lab) in

November and December of 2017.         Using industry standard ASTM D3775, Vartest

determined, for the TDA, that AQ Textile’s (1) Fairfield Square Essex Stay Fit 1200

thread count sheets had an actual thread count of 363; (2) Fairfield Square Luxury Sateen




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Essex Stay Fit 1200 thread count sheets had an actual thread count of 441; and (3) Ultra

Lux Wrinkle Resistant Luxury Weave 800 thread count sheets had an actual thread count

of 293. See Exhibit A (Letters from Texas Department of Agriculture to AQ Textiles

dated January 25 and February 16, 2018 (“TDA Letters”)).

       102.   Based on the Vartest lab test results, the TDA requested that the Office of

the Attorney General, State of Texas, Consumer Protection Division, and the FTC

“investigate the matters” as AQ (along with the retailer and manufacture) “may have

engaged in deceptive acts and practices within the State of Texas which are prohibited

under Section 17-46 of the Texas Business and Commerce Code.” TDA Letter, Jan. 25,

2018 at page 1.

       103.   The TDA also urged AQ Textiles (along with the retailer and manufacture)

to “stop sales of the said Goods, or to correctly repackage said Goods to reflect the proper

characteristics of said Goods.” TDA Letter, Jan. 25. 2018 at p. 2.

       104.   On August 30, 2019, the Texas Office of the Attorney General served AQ

Textiles with a Civil Investigative Demand requiring it to produce, among other things,

specifications, representations, advertisements, and test reports relating to its Luxury

Sateen Essex Stay and Ultra Lux 800TC Wrinkle Resistant Luxury Weave sheets. Exhibit

F.

       105.   The bedding sheet products at issue are therefore inherently defective and

not fit for their intended use as high quality luxury sheets and bedding because, as a result

of the lower thread count, the sheets are of lower quality, softness, comfort, durability,




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and longevity than they otherwise would if they in actuality were the represented thread

count and quality stated on the labeling and price tags.

       106.   Defendants directed their agents and retail partners, such as Macy’s, to

represent that numerous bedding sheet products were of a certain thread count, but when

measured in accordance with industry standards, these thread counts were far less than

claimed because Defendants improperly counted.

       107.   Defendants represented that numerous bedding sheet products were of a

certain thread count, but when measured in accordance with industry standards, these

thread counts were far less than claimed because Defendants improperly counted the plies

making up the threads in their sheets rather than the threads themselves.

       108.   Defendant Creative Textiles, on information and belief, knowingly

manufactured and packaged its products with inflated thread counts in order to win

business or command higher prices.

       109.   Defendant AQ Textiles participated in developing the labeling with inflated

thread counts, and either knew or should have known that the advertised thread counts

were false.

       110.   Plaintiffs purchased sheets, imported by Defendant AQ Textiles and

manufactured by Defendant Creative Textiles, which were represented to be higher

thread counts than they were.

       111.   Defendants made false representations as to the thread count of their sheets

and bedding products on the products’ packaging, on their retailer’s websites, including

Macy’s.com, as well as in their retailer’s stores, including the retail Macy’s stores




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stocked with the relevant goods in the State of California, North Carolina and throughout

the United States.

       112.   Defendants’ representations regarding the thread counts of their bedding

sheet products were deceptive and misleading according to both the defined industry

standard and the FTC’s guidelines for accurately describing thread counts.

       113.   By improperly inflating thread counts contrary to industry standards,

Defendants have engaged in, and continue to engage in, practices which are

unconscionable, deceptive, and fraudulent, and which are based on false pretenses, false

promises, misrepresentations, and the knowing concealment, suppression, or omission of

material facts with the intent that others rely on such concealment, suppression, or

omission in their manufacturing, advertising, marketing, selling, and distribution of

bedding sheets.

       114.   As a direct and proximate result of Defendants’ improper conduct,

Plaintiffs and Class Members paid more for bedding sheet products which Defendants

represented had inflated thread counts.

       115.   By representing that their products had higher thread counts than they

actually had, Defendants unjustly profited from the sale of such bedding sheet products to

consumers.

       116.   The inflated thread counts put forth by Defendants in their products

induced Plaintiffs and other Class Members to purchase their products when Plaintiffs

and other Class Members would not have purchased them, or would only have paid a




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lower price for the product if they had known the actual thread counts at the time of

purchase.

                              CLASS ACTION ALLEGATIONS

          117.   The foregoing allegations are incorporated by reference and realleged

herein.

          118.   Plaintiffs bring this class action pursuant to Rule 23 of the Federal Rules of

Civil Procedure and may seek to certify one or more of the following Classes:

          Nationwide Class:

          All persons in the United States that purchased bedding sheets manufactured,
          distributed, or labeled by Defendants for personal, family, or household purposes
          that Defendants represented as having thread counts higher than the bedding or
          sheet’s actual thread counts.

          Missouri Class:

          All persons in the State of Missouri that purchased bedding sheets
          manufactured, distributed, or labeled by Defendants for personal, family, or
          household purposes that Defendants represented as having thread counts
          higher than the bedding or sheet’s actual thread counts.

          North Carolina Class:

          All persons in the State of North Carolina that purchased bedding sheets
          manufactured, distributed, or labeled by Defendants for personal, family, or
          household purposes that Defendants represented as having thread counts higher
          than the bedding or sheet’s actual thread counts.

          California Class:

          All persons in the State of California that purchased bedding sheets manufactured,
          distributed, or labeled by Defendants for personal, family, or household purposes
          that Defendants represented as having thread counts higher than the bedding or
          sheet’s actual thread counts.

          Massachusetts Class:




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       All persons in the Commonwealth of Massachusetts that purchased bedding sheets
       manufactured, distributed, or labeled by Defendants for personal, family, or
       household purposes that Defendants represented as having thread counts higher
       than the bedding or linen’s actual thread counts.

       New Hampshire Class:

       All persons in the State of New Hampshire that purchased bedding sheets
       manufactured, distributed, or labeled by Defendants for personal, family, or
       household purposes that Defendants represented as having thread counts higher
       than the bedding or linen’s actual thread counts.

       119.   The class period commences on the first date that Defendants

manufactured, marketed, advertised, sold and/or distributed the offending bedding sheet

products and ending on the date that the Court certifies this suit as a class action.

       120.   Excluded from the Classes (and in the alternative, the Subclasses defined

below) are Defendants, any parent, subsidiary, affiliate, or controlled person of

Defendants, as well as the officers, directors, agents, servants, or employees of

Defendants.

       121.   Defendants’ policy and practice of inflating thread counts and

misrepresenting thread counts by presenting inflated numbers to consumers has affected

all Class Members. As such, there are many common questions of law and fact among

Plaintiffs and the Class Members, which predominate over questions affecting individual

Class members. Common questions include, but are not limited to, the following:

                     a.      Whether ASTM D3775 Standard Test Method for Warp
                             (End) and Filling (Pick) Count of Woven Fabrics was the
                             generally accepted method in the textile industry for
                             calculating thread count during the relevant time period;

                     b.      Whether Defendants knew or should have known that ASTM
                             D3775 was the generally accepted method in the textile




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                  industry for calculating thread count during the relevant time
                  period;

             c.   Whether Defendants misrepresented thread counts on their
                  bedding sheets contrary to industry standards and in
                  contravention of ASTM D3775;

             d.   Whether Defendants manufactured, advertised, sold, or
                  delivered for sale bedding sheets that were advertised or
                  represented to be of a certain thread count, but were, in fact,
                  of a lesser thread count;

             e.   Whether Defendants knew or should have known persons
                  would rely on the inflated thread counts in making their
                  purchase decision;

             f.   Whether Defendants were negligent in representing thread
                  counts on their bedding sheets contrary to industry standards
                  and in contravention of ASTM D3775;

             g.   Whether Defendants fraudulently concealed that the thread
                  counts and their bedding sheets were inflated, contrary to
                  industry standards and in contravention of ASTM D3775;

             h.   Whether Defendants’ inflated thread counts violated the laws
                  of the States of Missouri, North Carolina, California,
                  Massachusetts, and New Hampshire, and/or other States;

             i.   Whether Defendants are liable for violation of the laws of the
                  States of Missouri, North Carolina, California, Massachusetts,
                  and New Hampshire, and/or other States;

             j.   Whether Defendants’ misrepresentations caused damages to
                  Class Members and the extent of those damages;

             k.   Whether AQ Textiles responded to the TDA Letters as
                  directed;

             l.   Whether Defendants were unjustly enriched, and, if so, the
                  extent to which they were unjustly enriched; and

             m.   Whether Defendants should be enjoined from future conduct
                  of the type complained of herein.




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          122.   Plaintiffs’ claims are representative of the putative Classes because their

claims are typical of the claims of the Class members and rely on Defendants’

misrepresentations and application of an industry standard. If brought and prosecuted

individually, the claims of each putative Class member would require proof of the same

materials and substantive facts, rely on the same remedial theories, and seek the same

relief.

          123.   Plaintiffs will fairly and adequately protect the interests of the Classes and

have retained attorneys experienced in class and complex litigation as counsel.

          124.   A class action is superior to other available methods for the fair and

efficient adjudication of this controversy.

          125.   A class action will permit an orderly and expeditious administration of the

claims of the Classes, will foster economies of time, effort, and expense, and will insure

uniformity of decisions.

          126.   The prosecution of individual actions by Class members would: (a) create

the risk of inconsistent or varying adjudications with respect to individual Class

members; and (b) be grossly impracticable because the cost of vindicating an individual

Class member’s claim would likely exceed the value of the claim.

          127.   Defendants have acted or refused to act on grounds generally applicable to

the Classes, thereby making appropriate final injunctive relief or corresponding

declaratory relief with respect to the Classes as a whole.




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          128.   Due to the relatively small amounts of damaged to each member of the

Classes, a class action is superior to other available methods for the fair and efficient

adjudication of the controversy which is subject of this action.

          129.   The interests of judicial economy will be served by concentrating litigation

concerning these claims in this Court, and there is no known difficulty that would be

encountered in the management of these Classes.

          130.   All conditions precedent for filing this Complaint have been satisfied,

occurred or been met including all pre-suit notice to Defendants.

          131.   Defendants have failed to cure Plaintiffs’ concerns.

                                EQUITABLE TOLLING
          132.   The foregoing allegations are incorporated by reference and realleged

herein.

          133.   Despite knowing that their bedding sheets were non-conforming because

they did not contain the qualities that Defendants advertised -- specifically with regard to

thread counts -- Defendants concealed their non-conforming nature from Plaintiff and the

Class by affirmatively marketing and advertising their products as having certain

qualities that they did not have.

          134.   Plaintiff and Class Members did not and could not have known that their

bedding sheets did not have the qualities that they were advertised to have, as this fact

was not disclosed to them and could not have been apparent from a superficial inspection

the products.

          135.   Plaintiff and Class Members could not have discovered the non-conforming

nature of Defendants’ products through the exercise of due diligence.


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          136.   Due to Defendants’ fraudulent concealment of the non-conforming

associated with their products, Defendants are estopped from asserting statute of

limitations defenses to any of the claims alleged herein.


                                   COUNT ONE
                  Breach of Implied Warranty of Merchantability
  (Mo. Rev. Stat. § 400.2-313-314; N.C.G.S.A. § 25-2-314; Cal. Com. Code § 2314;
    Mass. Gen. Laws Ann. ch. 106, § 2-314; N.H. Rev. Stat. Ann. § 382-A:2-314)

          137.   Plaintiffs incorporate by reference all paragraphs as though fully set forth

herein.

          138.   Each Defendant was a “seller,” within the meaning of the applicable

statutes, and Plaintiffs and North Carolina Class Members were “buyers,” within the

meaning of the applicable statutes.

          139.   Each Defendant was a “merchant with respect to goods” within the

meaning of the applicable statutes.

          140.   Pursuant to N.C.G.S.A. § 25-2-314, an implied warranty for Defendants’

sheets and bedding products was created by law, guaranteeing that (2) goods to be

merchantable must be at least such as: (a) pass without objection in the trade under the

contract description; and (b) in the case of fungible goods, are of fair average quality

within the description; and (c) are fit for the ordinary purposes for which such goods are

used; and (d) run, within the variations permitted by the agreement, of even kind, quality

and quantity within each unit and among all units involved; and (e) are adequately

contained, packaged, and labeled; and (f) conform to the promises or affirmations of fact

made on the container or label if any.”




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       141.   Pursuant to Mo. Rev. Stat § 400.2-314(2), an implied warranty for

Defendants’ sheets and bedding products was created by law, guaranteeing that the goods

“(a) pass without objection in the trade under the contract description; and (b) in the case

of fungible goods, are of fair average quality within the description; and (c) are fit for the

ordinary purposes for which such goods are used; and (d) run, within the variations

permitted by the agreement, of even kind, quality and quantity within each unit and

among all units involved; and (e) are adequately contained, packaged, and labeled as the

agreement may require; and (f) conform to the promises or affirmations of fact made on

the container or label if any.”

       142.   Pursuant to Cal. Com. Code § 2314(2), an implied warranty for

Defendants’ sheets and bedding products was created by law, guaranteeing that the goods

“(a) pass without objection in the trade under the contract description; and (b) in the case

of fungible goods, are of fair average quality within the description; and (c) are fit for the

ordinary purposes for which such goods are used; and (d) run, within the variations

permitted by the agreement, of even kind, quality and quantity within each unit and

among all units involved; and (e) are adequately contained, packaged, and labeled as the

agreement may require; and (f) conform to the promises or affirmations of fact made on

the container or label if any.”

       143.   Pursuant to Mass. Gen. Laws Ann. ch. 106, § 2-314(2), an implied warranty

for Defendants’ sheets and bedding products was created by law, guaranteeing that the

goods “(a) pass without objection in the trade under the contract description; and (b) in

the case of fungible goods, are of fair average quality within the description; and (c) are




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fit for the ordinary purposes for which such goods are used; and (d) run, within the

variations permitted by the agreement, of even kind, quality and quantity within each unit

and among all units involved; and (e) are adequately contained, packaged, and labeled as

the agreement may require; and (f) conform to the promises or affirmations of fact made

on the container or label if any.”

       144.   Pursuant to N.H. Rev. Stat. Ann. § 382-A:2-314(2), an implied warranty for

Defendants’ sheets and bedding products was created by law, guaranteeing that the goods

“(a) pass without objection in the trade under the contract description; and (b) in the case

of fungible goods, are of fair average quality within the description; and (c) are fit for the

ordinary purposes for which such goods are used; and (d) run, within the variations

permitted by the agreement, of even kind, quality and quantity within each unit and

among all units involved; and (e) are adequately contained, packaged, and labeled as the

agreement may require; and (f) conform to the promises or affirmations of fact made on

the container or label if any.”

       145.   The sheets and bedding products, when sold and thereafter, were not in

merchantable condition, were unfit for the ordinary purpose for which they are used, and

failed the promises of the warranty of merchantability, because they lacked the quality,

properties, and characteristics of sheets with thread counts as high as advertised.

       146.   Defendants were noticed of these issues within a reasonable time by

multiple complaints including the instant one.




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          147.   As a direct and proximate result of Defendants’ breach of the implied

warranty of merchantability, Missouri, North Carolina, California, Massachusetts, and

New Hampshire Class Members have been damaged in an amount to be proven at trial.

          148.   Plaintiff Morrison provided Defendants with notice of her and the Classes’

claims by letter dated November 27, 2018.

          149.   Plaintiff Hawes provided Defendants with notice of her and the Classes’

claims by letter on or around May 17, 2019.

          150.   Plaintiffs Chiaraluce and Fontaine provided Defendants with notice of their

and the Classes’ claims by letter on or around December 5, 2019.

          151.   Defendants have failed to cure Plaintiffs’ concerns.

                                 COUNT TWO
                           Breach of Express Warranty
     Missouri, North Carolina, California, Massachusetts, and New Hampshire
                                  U.C.C. § 2-313

          152.   Plaintiffs incorporate by reference all paragraphs as though fully set forth

herein.

          153.   Defendants’ affirmations of fact and/or promises relating to their sheets and

bedding products created express written warranties that the products would conform to

Defendants’ affirmations of fact and/or promises.

          154.   Alternatively, Defendants’ descriptions of their sheets and bedding

products became part of the bases of the bargains, creating express written warranties that

the products purchased by Plaintiffs and Class Members would conform to Defendants’

descriptions and specifications.




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      155.   In fact, the sheets and bedding products purchased by Plaintiffs and the

Class Members did not so conform to the descriptions and specifications.

      156.   Plaintiffs and the Class Members were the intended targets of Defendants’

misrepresentations.

      157.   Plaintiffs and the Class Members reasonably relied on Defendants’

misrepresentations.

      158.   Defendants expressly warrants on the labels of the sheets and bedding

products that they have certain thread counts. In fact, the products’ thread counts are

lower than promised and warranted.

      159.   Plaintiffs and Class Members relied on Defendants’ false representations as

to the sheets and bedding products’ thread counts.

      160.   Defendants have breached their express warranties.

      161.   As a result of the foregoing, the Plaintiffs and the Class Members have

suffered damages in that the value of the products they purchased was less than warranted

by Defendants.

      162.   Plaintiffs and the Class Members were injured as a result of Defendants’

breach of their express warranties about their sheets and bedding products.

      163.   By reason of the foregoing, Plaintiffs and the Class Members were

damaged in the amount they paid for the falsely labeled sheets and bedding products,

together with punitive damages.

      164.   Plaintiff Morrison provided Defendants with notice of her and the Classes’

claims by letter dated November 27, 2018.




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       165.   Plaintiff Hawes provided Defendants with notice of her and the Classes’

claims by letter on or around May 17, 2019.

       166.   Plaintiffs Chiaraluce and Fontaine provided Defendants with notice of their

and the Classes’ claims by letter on or around December 5, 2019.

       167.   Defendants have failed to cure Plaintiffs’ concerns.


                                 COUNT THREE
                Violation of Missouri’s Merchandising Practices Act
                                RSMo § 407 et. seq.

       189. Plaintiff repeats and re-alleges the allegations of the preceding

paragraphs as if fully set forth herein.

       190.   Missouri’s Merchandising Practices Act (the “MMPA”) prohibits the act,

use, or employment by any person of any deception, fraud, false pretense, false promise,

misrepresentation, unfair practice or the concealment, suppression, or omission of any

material fact in connection with the sale or advertisement of any merchandise in trade or

commerce § 407.020, RSMo.

       191.   Defendants’ conduct constitutes the act, use or employment of deception,

fraud, false pretenses, false promises, misrepresentation, unfair practices and/or the

concealment, suppression, or omission of any material facts in connection with the sale or

advertisement of any merchandise in trade or commerce because Defendants

misrepresent that the Products are of a particular thread count when they are not.

       192.   In addition, by claiming the Products are of a particular thread count,

Defendants’ Products create the false impression and have the tendency and capacity to




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mislead consumers (see 15 CSR 60-9.020) into believing that the Products are of a higher

thread count than they actually are.

       193.   Moreover, the overall format and appearance of the Products have the

tendency and capacity to mislead consumers (15 C.S.R. 60-9.030) because they create the

false impression that the Products are of a higher thread count

       194.   The Products were therefore worth less than the Products as represented,

and Plaintiff and Class Members paid extra or a premium for them based on the inflated

characteristics.

       195.   Plaintiff and Class Members purchased the Products for personal, family, or

household purposes and thereby suffered an ascertainable loss as a result of Defendants’

unlawful conduct as alleged herein, including the difference between the actual value of

the Products and the value of the Products if they had been as represented.

       196.   Plaintiff also seeks injunctive relief to remedy Defendants’ ongoing

deceptive practices.

       197.   Plaintiff Morrison provided Defendants with notice of her and the Classes’

claims by letter dated November 27, 2018.

       198.   Plaintiff Hawes provided Defendants with notice of her and the Classes’

claims by letter on or around May 17, 2019.

       199.   Plaintiffs Chiaraluce and Fontaine provided Defendants with notice of their

and the Classes’ claims by letter on or around December 5, 2019.

       200.   Defendants have failed to cure Plaintiffs’ concerns.

                                    COUNT FOUR
              Violation of the North Carolina Unfair Trade Practices Act


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                                 N.C. Gen. Stat. § 75-1.1

       202.   Plaintiffs repeat, reallege, and incorporate by reference the allegations set

forth in this Complaint, as though fully set forth herein.

       203.   Defendants engaged in “unfair or deceptive acts or practices in or affecting

commerce” under the North Carolina Unfair Trade Practices Act when they marketed,

sold, or distributed sheets in North Carolina that contained less thread counts than

advertised. Defendants’ acts, omissions, misrepresentations, practices, and non-

disclosures were unfair, deceptive, and fraudulent.

       204.   During the Class Period, Defendants’ unlawful conduct had a substantial

effect on North Carolina commerce.

       205.   Defendants’ unlawful conduct had the following effects: Plaintiffs relied on

misrepresentations. Plaintiffs and Class members overpaid for the sheets. Defendants

made sales based on false representations.

       206.   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

and Class members have been injured in their business and property and are threatened

with further injury.

       207.   Defendants have engaged in unfair and deceptive acts or practices in

violation of N.C. Gen. Stat. § 75-1.1.

       208.   Plaintiffs are entitled under N.C. Gen. Stat. § 75-16 to bring a civil action to

remedy Defendants’ violations and collect treble damages.

       209.   Accordingly, Plaintiffs and Class members seek all relief available under

N.C. Gen. Stat. §§ 75-1.1 and 75-16, including treble damages and attorneys’ fees.




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       210.   Plaintiff Morrison provided Defendants with notice of her and the Classes’

claims by letter dated November 27, 2018.

       211.   Plaintiff Hawes provided Defendants with notice of her and the Classes’

claims by letter on or around May 17, 2019.

       212.   Plaintiffs Chiaraluce and Fontaine provided Defendants with notice of their

and the Classes’ claims by letter on or around December 5, 2019.

       213.   Defendants have failed to cure Plaintiffs’ concerns.

                                     COUNT FIVE
              Violation of the California Consumer Legal Remedies Act
                             Cal. Civ. Code, § 1750, et seq.

       214.   Plaintiffs repeat, reallege, and incorporate by reference the allegations set

forth in this Complaint, as though fully set forth herein.

       215.   Plaintiffs bring this count pursuant to the Consumer Legal Remedies Act,

California Civil Code § 1750, et seq. (“CLRA”), for omissions by Defendants, made

actionable by affirmative misrepresentations and/or exclusive knowledge of material

facts, and Defendants’ active concealment of the truth.

       216.   The bedding sheet products are “goods” pursuant to the CLRA at California

Civil Code § 1761(a).

       217.   Defendants are “persons” pursuant to the CLRA at California Civil Code

§ 1761(c).

       218.   Plaintiffs and the Class Members are “consumers” pursuant to the CLRA at

California Civil Code § 1761(d).




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      219.   Purchases of the bedding sheets products by Plaintiff and the Class

Members are “transactions” pursuant to the CLRA at California Civil Code § 1761(e).

                             Affirmative Misrepresentations

      220.   Thread count is a specific, quantifiable attribute of bedding sheets.

      221.   There is no requirement to communicate the thread count of bedding sheet

products when advertising or selling them to consumers.

      222.   However, thread count is a significant driver of consumers’ perceptions of

the value and quality of the products, as alleged throughout this Complaint.

      223.   Defendants sold to Plaintiffs bedding sheet products that were advertised

with inflated thread counts and overstated levels quality, durability, longevity, fitness,

softness, comfort and other characteristics associated with sheets products of that

represented thread count

      224.   Defendants knew or should have known that the thread counts listed by

themselves and/or their manufacturers or wholesalers were false or misleading to

consumers.

      225.   Defendants, as detailed in this Complaint, repeated these false or

misleading statements of thread count in various product listings and descriptions, either

in the store, or advertisements, or the website, which were seen and relied upon by

Plaintiff and Class Members.

      226.   These misstatements of the thread count of the bedding products are

prohibited by the CLRA, because they are “undertaken by [Defendants] in a transaction




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intended to result or which results in the sale or lease of [the bedding products] to any

consumer.”

       227.   Defendants violated the CLRA by knowingly advertising that their bedding

products had a higher thread count than they actually had and overstating the levels

quality, durability, longevity, fitness, softness, comfort and other characteristics

associated with sheets products of that represented thread count.

       228.   Defendants violated the CLRA’s proscription against misrepresentation of

the “approval, characteristics, ingredients, uses, benefits, or quantities” of the bedding

products by advertising a falsely inflated thread count and overstating the levels quality,

durability, longevity, fitness, softness, comfort and other characteristics associated with

sheets products of that represented thread count.

       229.   These misrepresentations violated California Civil Code § 1770(a)(5)’s

proscription against representing that goods have characteristics that they do not have;

Civil Code § 1770(a)(7)’s proscription against representing that goods are of a particular

standard, quality or grade when they are of another; and Civil Code § 1770(a)(9)’s

proscription against advertising goods with the intent not to sell the goods as advertised.

       Exclusive Knowledge of Material Facts and Omissions of Material Facts

       230.   Upon information and belief, through examination of their own products

and interactions with manufacturers or wholesalers, and as otherwise detailed in this

Complaint, Defendants have exclusive knowledge concerning the actual thread count of

the bedding products and the corresponding levels of quality, durability, longevity,




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fitness, softness, comfort and other characteristics associated with sheet products of that

represented thread count that they import and sell to consumers.

       231.   Defendants owe consumers a duty to disclose the true and accurate thread

count of the products and the corresponding quality, durability, longevity, fitness,

softness, comfort and other characteristics associated with sheet products of that

represented thread count and that the thread count information represented by

Defendants, and/or the manufacturers or wholesalers of the bedding products and

advertised by Defendants is not false and/or misleading.

       232.   Consumers, including Plaintiff, have no realistic means of determining the

actual thread count of the bedding products or the corresponding quality, durability,

longevity, fitness, softness, comfort and other characteristics associated with sheet

products of that represented thread count.

       233.   A textile expert with magnifying equipment is needed to make such a

determination.

       234.   Further, the process of testing the thread count damages the sheets.

Consumers therefore cannot be expected to discover the true thread count before making

a purchase.

       235.   This is true under any circumstances, but especially when ordering products

over the internet or by catalog.

       236.   Retailers of bedding products frequently fail to identify the manufacturer,

importer, or seller of textiles at the point of sale or on product packaging. Import records

similarly do not reveal the names of the original manufacturers of the materials used to




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construct the imported products. These omissions from packaging and import records

make it difficult to trace products back to manufacturers.

       237.   Defendants concealed from Plaintiffs and Class Members that the thread

counts advertised for the bedding products are inflated to more than the actual thread

count as a result of counting plies rather than threads, and that these thread counts are not

calculated according to the method used by other bedding providers and prescribed by

ASTM D3775.

       238.   Defendants further concealed from Plaintiffs and Class Members the true

quality, durability, longevity, fitness, softness, comfort and other characteristics

associated with sheets products of the represented thread count.

       239.   Plaintiffs and Class Members, as reasonable consumers, attached

importance to representations by Defendants concerning the thread counts of the bedding

products in deciding whether to purchase the products, and in deciding whether the price

was reasonable.

       240.   Thread counts are a material factor in consumers’ determinations of the

value, quality, durability, longevity, fitness, softness, comfort and other characteristics of

bedding products.

       241.   Without disclosure of the above information, reasonable consumers such as

Plaintiffs were and continue to be deceived by Defendants’ false thread counts.

       242.   Defendants violated the CLRA by failing to disclose material facts and

continuing to advertise thread counts Defendants knew to be inflated in, without

limitation, product labels, advertisements, product descriptions, and website text.




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       243.   Defendants knew or should have known that their misrepresentations would

cause Plaintiffs and Class Members to pay higher prices for the bedding products than

they would have paid, had a misleading thread count not been advertised.

       244.   In failing to disclose material facts contrary to their affirmative

representations, Defendants violated California Civil Code § 1770(a)(5)’s proscription

against representing that goods have characteristics that they do not have; Civil Code §

1770(a)(7)’s proscription against representing that goods are of a particular standard,

quality, or grade when they are of another; and Civil Code § 1770(a)(9)’s proscription

against advertising goods with the intent not to sell the goods as advertised.

       245.   Pursuant to California Civil Code § 1782(d), Plaintiffs seek the following

relief for Defendant’s violations of CLRA §§ 1770(a)(5), (7), and (9) with regard to the

bedding products identified herein:

       a.     Actual damages under Civil Code § 1780(a)(1);

       b.     Restitution under Civil Code § 1780(a)(3);

       c.     Punitive damages under Civil Code § 1780(a)(4);

       d.     Attorneys’ fees and costs under Civil Code § 1780(d); and

       e.     Any other relief the Court deems just and proper under the CLRA.

       247.   Plaintiff Morrison provided Defendants with notice of her and the Classes’

claims by letter dated November 27, 2018.

       248.   Plaintiff Hawes provided Defendants with notice of her and the Classes’

claims by letter on or around May 17, 2019.

       249.   Plaintiffs Chiaraluce and Fontaine provided Defendants with notice of their



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and the Classes’ claims by letter on or around December 5, 2019.

       250.   Defendants have failed to cure Plaintiffs’ concerns.

                                     COUNT SIX
        Violation of the California Unfair Competition Law – Unlawful Prong
                        Cal. Bus. & Prof. Code, § 17200, et seq.

       251.   Plaintiffs repeat, reallege, and incorporate by reference the allegations set

forth in this Complaint, as though fully set forth herein.

       252.   The acts of Defendants described herein constitute unlawful business

practices and violations of California’s Unfair Competition Law, Business and

Professions Code § 17200, et seq. (UCL). Section 17200 prohibits any “unlawful, unfair

or fraudulent business act or practice.”

       253.   Defendants’ business practices as alleged are unlawful under Federal Trade

Commission Act (FTCA) § 5(a), 15 U.S.C. § 45(a), which outlaws “unfair or deceptive

acts or practices in or affecting commerce.”

       254.   Defendants’ business practices are unfair under FTCA § 5(a) because they

are “likely to cause substantial injury to consumers which is not reasonably avoidable by

consumers themselves and not outweighed by countervailing benefits to consumers or to

competition.” 15 U.S.C. § 45(n).

       255.   Defendants’ business practices are deceptive under FTCA § 5(a) because

they include affirmative representations and omissions and are likely to mislead

reasonable consumers under the circumstances.

       256.   Defendants’ business practices are further unlawful under the CLRA and

under UCL § 17000, et seq., as alleged herein.




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       257.   Defendants’ business practices are also unlawful pursuant to the FTCA by

way of the Textile Fiber Products Identification Act, 15 U.S.C. §§ 70a(a), 70a(b), and/or

§ 70a(c). These sections make it unlawful, under 15 U.S.C. §§ 41 et seq., to sell,

transport, deliver, or advertise “any textile fiber product . . . which is misbranded or

deceptively advertised.”

       258.   As a result of Defendants’ unlawful business practices, Plaintiffs and Class

Members have been harmed and are entitled, pursuant to UCL § 17203, to injunctive

relief against the continuation of Defendants’ practices, as well as the restitution of

payments made for Defendants’ bedding products, including other equitable relief, costs,

and attorneys’ fees as recoverable by law.

       260.   Plaintiff Morrison provided Defendants with notice of her and the Classes’

claims by letter dated November 27, 2018.

       261.   Plaintiff Hawes provided Defendants with notice of her and the Classes’

claims by letter on or around May 17, 2019.

       262.   Plaintiffs Chiaraluce and Fontaine provided Defendants with notice of their

and the Classes’ claims by letter on or around December 5, 2019.

       263.     Defendants have failed to cure Plaintiffs’ concerns.

                                   COUNT SEVEN
         Violation of the California Unfair Competition Law – Unfair Prong
                        Cal. Bus. & Prof. Code, § 17200, et seq.

       264.   Plaintiffs repeat, reallege, and incorporate by reference the allegations set

forth in this Complaint, as though fully set forth herein.




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       265.   Defendants’ acts constitute unfair competition under § 17200. They are

contrary to public policy, violative of at least the FTCA, CLRA, and California False

Advertising Law, and injurious to the public and to competitors who advertise accurate

thread counts.

       266.      Purchasers of Defendants’ misleadingly advertised and labeled bedding

products, including Plaintiffs and Class Members, were injured because they paid an

excessive price for a product other than what they thought they were buying.

       267.   Falsely advertising thread counts has no conceivable benefit to consumers

or to competition.

       268.   This behavior leads consumers to purchase products they do not want, and

it forces competitors to either follow suit in the deceptive conduct or suffer lost sales.

       269.   Consumers could not have reasonably avoided the injuries they suffered

because they lack the skill, knowledge, resources, equipment, and opportunity necessary

to discern the true nature of the bedding products Defendants sold.

       270.   As a result of Defendants’ unfair business practices, Plaintiffs and Class

Members have been harmed and are entitled, pursuant to UCL § 17203, to injunctive

relief against the continuation of Defendants’ practices, as well as the restitution of

payments made for Defendants’ bedding products including other equitable relief, costs,

and attorneys’ fees as recoverable by law.

       271.      272. Plaintiff Morrison provided Defendants with notice of her and the

Classes’ claims by letter dated November 27, 2018.




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       273.   Plaintiff Hawes provided Defendants with notice of her and the Classes’

claims by letter on or around May 17, 2019.

       274.   Plaintiffs Chiaraluce and Fontaine provided Defendants with notice of their

and the Classes’ claims by letter on or around December 5, 2019.

       275.     Defendants have failed to cure Plaintiffs’ concerns.

                                  COUNT EIGHT
      Violation of the California Unfair Competition Law – Fraudulent Prong
                       Cal. Bus. & Prof. Code, § 17200, et seq.

       276.   Plaintiffs repeat, reallege, and incorporate by reference the allegations set

forth in this Complaint, as though fully set forth herein.

       277.   Defendants’ acts constitute fraudulent business practices under UCL

§ 17200. They are contrary to public policy, violative of at least the FTCA, CLRA, and

California False Advertising Law (UCL § 17500), and injurious to the public and to

competitors who advertise accurate thread counts or no thread counts.

       278.   Defendants represented the bedding products as having a specified thread

count with the intention that customers would rely on those representations in their

purchases.

       279.   Defendants knew or should have known that the threat counts they

represented were false.

       280.   Defendants’ thread count representations were material factors in the

purchases of the bedding products by Plaintiffs and the Class.

       281.   Defendants’ thread count representations were and continue to be relied

upon by reasonable consumers, such as Plaintiffs and the Class.




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       282.   Due to Defendants’ fraudulent and deceptive representations concerning

thread count, Plaintiff and the Class paid too much for the bedding products.

       283.   As a result of Defendants’ fraudulent business practices, Plaintiffs and

Class Members have been harmed and are entitled, pursuant to UCL § 17203, to

injunctive relief against the continuation of Defendants’ practices, as well as the

restitution of payments made for Defendants’ bedding products including other equitable

relief, costs, and attorneys’ fees as recoverable by law.

       285.   Plaintiff Morrison provided Defendants with notice of her and the Classes’

claims by letter dated November 27, 2018.

       286.   Plaintiff Hawes provided Defendants with notice of her and the Classes’

claims by letter on or around May 17, 2019.

       287.   Plaintiffs Chiaraluce and Fontaine provided Defendants with notice of their

and the Classes’ claims by letter on or around December 5, 2019.

       288.   Defendants have failed to cure Plaintiffs’ concerns.



      COUNT NINEViolation of the New Hampshire Consumer Protection Act
                  N.H. Rev. Stat. Ann. § 358-A:1, et seq.

       302.   Plaintiffs repeat, reallege, and incorporate by reference the allegations set

forth in this Complaint, as though fully set forth herein.

       303.   Defendants engaged in “unfair method[s] of competition [and] unfair or

deceptive act[s] or practice[s]” under the New Hampshire Consumer Protection Act when

they marketed, sold, or distributed sheets in North Carolina that contained less thread




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counts than advertised. Defendants’ acts, omissions, misrepresentations, practices, and

non-disclosures were unfair, deceptive, and fraudulent.

       304.   During the Class Period, Defendants’ unlawful conduct had a substantial

effect on New Hampshire commerce.

       305.   Defendants’ unlawful conduct had the following effects: Plaintiffs relied on

misrepresentations; Plaintiffs and Class members overpaid for the sheets; and Defendants

made sales based on false representations.

       306.   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

and Class members have been injured in their business and property and are threatened

with further injury.

       307.   Defendants have engaged in unfair and deceptive acts or practices in

violation of N.H. Rev. Stat. Ann. § 358-A:2.

       308.   Plaintiffs are entitled under N.H. Rev. Stat. Ann. § 358-A:10 and 11 to

bring a civil action to remedy Defendants’ violations and collect treble damages.

       309.   Accordingly, Plaintiffs and Class members seek all relief available under

N.H. Rev. Stat. Ann. § 358-A:10 and 11, including treble damages and attorneys’ fees.

       311.   Plaintiff Morrison provided Defendants with notice of her and the Classes’

claims by letter dated November 27, 2018.

       312.   Plaintiff Hawes provided Defendants with notice of her and the Classes’

claims by letter on or around May 17, 2019.

       313.   Plaintiffs Chiaraluce and Fontaine provided Defendants with notice of their

and the Classes’ claims by letter on or around December 5, 2019.




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          314.   Defendants have failed to cure Plaintiffs’ concerns.

                              COUNT TENUnjust Enrichment

          315.   Plaintiff repeats and realleges all preceding paragraphs as if fully set forth

herein.

          316.   Plaintiff brings this Count on behalf of herself and the Class.

          317.   As Plaintiff and the Class show just grounds for recovering money to pay

for benefits Defendants received from them, they have a right to restitution at law

through an action derived from the common-law writ of assumpsit by implying a contract

at law, or a quasi-contract as an alternative to a claim for breach of contract.

          318.   Plaintiff and members of the Class conferred a benefit upon Defendants by

purchasing the bedding products with an elevate thread count which was false and

misleading.

          319.   Defendant had knowledge that this benefit was conferred upon it.

          320.   Defendants, having received such benefits, is required to make restitution

as the circumstances here are such that, as between the two, it is unjust for Defendants to

retain such monies based on the illegal conduct described above.

          321.   Such money or property belongs in good conscience to Plaintiff and the

Class members and can be traced to funds or property in Defendants’ possession.

          322.   Plaintiff and Class members have unjustly enriched Defendants through

payments and the resulting profits enjoyed by Defendants as a direct result of such

payments. Plaintiff’s and Class members’ detriment and Defendants’ enrichment were

related to and flowed from the conduct challenged in this Complaint.




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       323.   Defendants appreciated, accepted, and retained the non-gratuitous benefits

conferred by Plaintiff and the proposed Class members, who, without knowledge that the

bedding products had elevated thread counts which were false and not accurate and that

the bedding products would not perform as advertised, paid a higher price for the product

than it was worth.

       324.   Defendant also received monies for the bedding products that Plaintiff and

the proposed Class members would not have otherwise purchased had they known the

truth about the thread counts and quality and characteristics of the bedding products.

       325.   It would be inequitable and unjust for Defendants to retain these wrongfully

obtained profits.

       326.   Defendants’ retention of these wrongfully obtained profits would violate

the fundamental principles of justice, equity, and good conscience.

       327.   An entity that has been unjustly enriched at the expense of another is

required to make restitution to the other. Under common law principles recognized in

claims of common counts, assumpsit, and quasi-contract, as well as principles of unjust

enrichment, under the circumstances alleged herein it would be inequitable for

Defendants to retain such benefits without paying restitution or damages therefor.

Defendant should not be permitted to retain the benefits conferred via payments to be

received from and/or paid by Plaintiff and Class members as a result of such transactions,

and other remedies and claims may not permit them to obtain such relief, leaving them

without an adequate remedy at law.




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                            DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury on all claims so triable as a matter of right.

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs and the putative Class Members pray that the Court

enter judgment for them and against Defendants as follows:

      a.     Certifying the Class pursuant to Rule 23 of the Federal Rules of Civil

             Procedure, certifying Plaintiffs as the representatives of the Class, and

             designating Plaintiffs’ counsel as counsel for the Class;

      b.     Declaring that Defendants’ acts and practices, as described herein,

             constitute deceptive acts and unconscionable business practices that are

             unlawful under the Missouri, North Carolina, California, Massachusetts,

             and New Hampshire consumer statutes, and common law.

      c.     Awarding Plaintiffs and the Class permanent injunctive relief prohibiting,

             restraining, and enjoining defendants from engaging in the conduct

             complained of herein, including, but not limited to, manufacturing,

             marketing, advertising, selling, and distributing bedding products that have

             inflated thread counts;

      d.     Directing Defendants to disgorge profits from its misleading and deceptive

             practices and to pay restitution to the Class;

      e.     Awarding Plaintiffs and the Class actual, compensatory damages in an

             amount to be proven;




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      f.     Awarding Plaintiffs and the Class restitution of all monies paid to

             Defendants as a result of unlawful, deceptive, and unfair business practices;

      g.     Awarding Plaintiffs and the Class exemplary damages in an amount to be

             proven;

      h.     Ordering Defendants to issue corrective advertising;

      i.     Awarding Plaintiffs and the Class reasonable attorneys’ fees, experts

             witness fees, pre- and post-judgment interest, and other costs in amounts to

             be determined by the Court; and

      j.     Granting any other further legal or equitable relief as this Court deems

             appropriate.



Dated this 4th day of February, 2022.

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                                     Attorneys for Plaintiffs




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                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the Third Class Action Complaint was filed

electronically with the Court’s CM/ECF system, which will send notice of filing to all

counsel of record.

      This the 4th day of February 2022.

                                                /s/ Scott C. Harris
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